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                          United States District Court
                           Southern District of Texas
                               Victoria Division
STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                      Case 6:23-cv-7
U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,
   Defendants.

                            Preliminary Injunction
     On the Plaintiff States’ Motion, Dkt. 19, the Court:

     1.   Finds that the States are likely to prevail on the merits of their claims
          on final judgment;

     2.   Finds that the States are suffering, and will continue to suffer,
          irreparable harm if the Defendants are not enjoined; and

     3.   Finds that the balance of the equities and the public interest favor
          enjoining the Defendants pending a final judgment.
     Therefore, the Defendants are enjoined from implementing, operating, or

continuing to operate the program set forth and described in the notices

published at 88 Fed. Reg. 1243 (Jan. 9, 2023), 88 Fed. Reg. 1255 (Jan. 9, 2023),

88 Fed. Reg. 1266 (Jan. 9, 2023), and 88 Fed. Reg. 1279 (Jan. 9, 2023).


     Signed on February __, 2023.



                                         Drew S. Tipton
                                         United States District Judge
